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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

BRUCE H. BARR,
Plaintiffs,

V.
Case No. 8:10-CV-2799-T-30TGW

FIRST SOURCE ADVANTAGE,
LLC, a New York limited liability
company,

Defendant.

 

DISMISSAL WITH PREJUDICE
‘NOW COMES the Plaintiff, by and through the undersigned attorney, and
submits this Dismissal with Prejudice of the above-styled cause of action.

This 25th day of January, 2011.

Respectfully submitted,

/s/ Adam J. Knight
Adam J. Knight
Florida Bar No. 69400
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